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      ENTERTAINMENT, LLC
  8
  9
                          UNITED STATES DISTRICT COURT
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                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11
 12
      MARC ELLIOT,                          Case No. 2:21-cv-08206-JAK-DFM
 13
                       Plaintiff,           Honorable John A. Kronstadt
 14
            vs.                             DEFENDANTS’ REQUEST FOR
 15                                         JUDICIAL NOTICE IN SUPPORT OF
      LIONS GATE FILMS INC., LIONS          SPECIAL MOTION TO STRIKE FIRST
 16   GATE ENTERTAINMENT INC. and           AMENDED COMPLAINT PURSUANT
      STARZ ENTERTAINMENT, LLC,             TO C.C.P. § 425.16
 17
                       Defendants.
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                                                       REQUEST FOR JUDICIAL NOTICE ISO
                                                            SPECIAL MOTION TO STRIKE
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   1                          REQUEST FOR JUDICIAL NOTICE
   2   I.    INTRODUCTION
   3         Defendants Lions Gate Films Inc., Lions Gate Entertainment Inc. and Starz
   4   Entertainment, LLC (collectively, “Defendants”) respectfully request, pursuant to
   5   Federal Rules of Evidence 201(b) and (d), that this Court take judicial notice of the
   6   following categories of materials and documents: (1) the lodged video files of
   7   Defendants’ four-part documentary series at issue in this dispute, Seduced: Inside the
   8   NXIVM Cult (the “Series”) (Ex. 1); (2) official court records from federal criminal
   9   proceedings before the United States District Court for the Eastern District of New
  10   York, U.S. v. Raniere, No. 1:18-cr-00204-NGG-VMS (Ex. 2); (3) the fact that there
  11   has been significant news media coverage of NXIVM and Keith Raniere, but
  12   Defendants do not seek judicial notice of the truth of the material within the news
  13   coverage (Exs. 3–5); and (4) the official New York State Department of Health’s
  14   Office of Professional Misconduct and Physician Discipline record for Brandon
  15   Porter (Ex. 6). Defendants concurrently submit these materials and documents to the
  16   Court along with a Notice of Lodging, all in support of Defendants’ Special Motion
  17   to Strike the First Amended Complaint (“FAC”) pursuant to California Code of Civil
  18   Procedure section 425.16, which is brought as a motion to dismiss Plaintiff’s claims
  19   as a matter of law.
  20   II.   THE COURT SHOULD TAKE JUDICIAL NOTICE OF THE SERIES
  21         AT ISSUE AND RELEVANT CONTEXT
  22         Federal Rule of Evidence 201(b) provides that facts are subject to judicial
  23   notice where they are “not subject to reasonable dispute in that [they are] . . . capable
  24   of accurate and ready determination by resort to sources whose accuracy cannot
  25   reasonably be questioned.” Federal Rule of Evidence 201(d) states that “[a] court
  26   shall take judicial notice if requested by a party and supplied with the necessary
  27   information.” “A court may take judicial notice of ‘matters of public record’ without
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   1   converting a motion to dismiss into a motion for summary judgment.” Lee v. City of
   2   Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001).
   3         A. Lodged Video Files of the Series
   4         In ruling on a motion to dismiss, a court may take judicial notice of items and
   5   documents outside the pleadings when such items are referenced in the complaint.
   6   See, e.g., Swartz v. KPMG LLP, 476 F.3d 756, 763 (9th Cir. 2007) (“[A] a court may
   7   consider a writing referenced in a complaint but not explicitly incorporated therein if
   8   the complaint relies on the document and its authenticity is unquestioned.”); Knievel
   9   v. ESPN, 393 F.3d 1068, 1076–77 (9th Cir. 2005); Zella v. The E.W. Scripps Co., 529
  10   F. Supp. 2d 1124, 1128 (C.D. Cal. 2007). All of Plaintiff’s claims in the FAC focus
  11   on Defendants’ four-part documentary series, Seduced: Inside the NXIVM Cult (the
  12   “Series”). See, e.g., Dkt. 11 [FAC] ¶¶ 70, 84, 98, 111, 115, 121–123. Plaintiff quotes
  13   from and characterizes segments of the Series in the FAC, alleging implications
  14   arising from the Series. See, e.g., FAC ¶¶ 38–66. Exhibit 1, the video files of the
  15   four-part Series, are therefore judicially noticeable.
  16         In addition, because Plaintiff “relies on and references” the Series in the FAC,
  17   Exhibit 1 is also “appropriate for incorporation by reference.” Bernier v. Travelers
  18   Prop. Cas. Ins. Co., 2017 WL 5843396, at *2 (S.D. Cal. Nov. 29, 2017). Indeed, the
  19   Ninth Circuit has explicitly “extended the ‘incorporation by reference’ doctrine to
  20   situations in which the plaintiff’s [defamation] claim depends on the contents of a
  21   document . . . and the parties do not dispute the authenticity of the document.”
  22   Knievel, 393 F.3d at 1076–79 (considering web pages attached to a motion to dismiss
  23   under the incorporation by reference doctrine and affirming dismissal of defamation
  24   claim). Plaintiff’s claims depend on—and revolve entirely around—the Series.
  25   Exhibit 1 should therefore be incorporated by reference, and judicial notice should be
  26   taken of Exhibit 1.
  27   ///
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   1          B. Federal Judicial Records from Criminal Matter
   2          The Court should also take judicial notice of relevant facts not subject to
   3   reasonable dispute. Fed. R. Evid. 201(b).
   4          Exhibit 2, federal court records from the criminal case U.S. v. Raniere, No.
   5   1:18-cr-00204-NGG-VMS (E.D.N.Y), are subject to judicial notice because they are
   6   a source “whose accuracy cannot reasonably be questioned.” Fed. R. Evid.
   7   201(b)(2). Courts “may take judicial notice of court filings and other matters of
   8   public record.” Reyn's Pasta Bella, LLC v. Visa USA, Inc., 442 F.3d 741, 746 n.6
   9   (9th Cir. 2006) (taking judicial notice of numerous briefs and filings from other
  10   litigation); Hemphill v. Kimberly-Clark Corp., 605 F. Supp. 2d 183, 186 (D.D.C.
  11   2009) (“A court may take judicial notice of public records from other
  12   proceedings.”); Gharb v. Mitsubishi Elec. Corp., 148 F. Supp. 3d 44, 46 n.1 (D.D.C.
  13   2015) (taking judicial notice of “publicly filed documents in related litigation”).
  14          The docket report and filings from the U.S. District Court for the Eastern
  15   District of New York case are judicially noticeable. Episode Four of the Series
  16   focuses on the criminal investigation and trial of Raniere, which ended with a 120-
  17   year federal prison sentence. Plaintiff names Raniere 44 times in the FAC. The
  18   prosecution of NXIVM leader Keith Raniere for sex trafficking, forced labor, and
  19   racketeering is related to this litigation.
  20          Further, Plaintiff was relevant to Raniere’s criminal proceedings. Plaintiff’s
  21   name and story battling Tourette Syndrome fill three pages of the memo Raniere’s
  22   legal team submitted advocating for a lighter sentence. See Exhibit 2, Dkt. 925 at 33–
  23   36. Exhibit 2, the docket report and publicly filed defendant’s sentencing memo in
  24   U.S. v. Raniere, are therefore judicially noticeable.
  25          C. Public Interest in the Controversies Concerning NXIVM and Raniere
  26          In the defamation context, courts regularly take judicial notice of articles which
  27   add to the “broader . . . context” of the dispute. Condit v. Dunne, 317 F. Supp. 2d
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   1   344, 357 (S.D.N.Y. 2004). It is proper to take judicial notice of various publications
   2   introduced “to indicate what was in the public realm at the time, not whether the
   3   contents of those articles were in fact true.” Makaeff v. Trump Univ., LLC, 715 F.3d
   4   254, 259 (9th Cir. 2013) (quoting Von Saher v. Norton Simon Museum of Art at
   5   Pasadena, 592 F.3d 954, 960 (9th Cir. 2010)); see also Ganino v. Citizens Utilities
   6   Co., 228 F.3d 158, 166 n.8 (2d Cir. 2000) (taking judicial notice of “well-publicized
   7   stock prices without converting the motion to dismiss into a motion for summary
   8   judgment”); Cochran v. NYP Holdings, Inc., 58 F. Supp. 2d 1113, 1123 n.5 (C.D.
   9   Cal. 1998) (taking judicial notice of the level of publicity and public discussion
  10   surrounding the O.J. Simpson trial); Biro v. Conde Nast, 963 F. Supp. 2d 255, 271 n.9
  11   (S.D.N.Y. 2013) (“the Court can take judicial notice of articles written by and about
  12   [the plaintiff]”). Here, the public interest in NXIVM and Plaintiff’s role as a public
  13   figure in the NXIVM scandal provide broader context to this dispute.
  14         The Court should take judicial notice of the fact that NXIVM and Raniere have
  15   been the subject of extensive media coverage, as evidenced by Exhibits 3, 4, and 5.
  16   Exhibit 3 reflects how both local and national media outlets published in-depth
  17   coverage about NXIVM and Keith Raniere prior to the federal criminal investigation.
  18   Exhibit 4 reflects how, beginning in 2017 and throughout the criminal investigation
  19   and prosecution, NXIVM and Raniere garnered significant media coverage across
  20   print media, television, podcasts, and docuseries. Such coverage provides “evidence
  21   of the ‘media frenzy’” surrounding NXIVM and Raniere, and the Court may take
  22   judicial notice not of the substance of the articles but of the “widespread publicity”
  23   that preceded Defendants’ Series. See Condit v. Dunne, 317 F. Supp. 2d at 358.
  24         Exhibit 5 is judicially noticeable to the extent it reflects how Plaintiff himself
  25   has been the subject of media coverage following Raniere’s criminal conviction. Just
  26   as the media coverage of the O.J. Simpson trial was judicially noticeable in a
  27   defamation case brought by Johnny Cochran, where the defendant was “weighing in
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   1   on the public debate” about the trial and Cochran’s legal theories, the media coverage
   2   of the NXIVM scandal (and Plaintiff’s presence in the coverage) should be judicially
   3   noticeable here. Cochran v. NYP Holdings, Inc., 58 F. Supp. 2d 1113, 1123 n.5 (C.D.
   4   Cal. 1998). This is a defamation case brought by an admitted NXIVM member, see
   5   FAC ¶¶ 20–37, regarding Defendants’ contributions to the public debate about
   6   NXIVM. The media coverage about Plaintiff is judicially noticeable and relevant to
   7   the determination that the NXIVM scandal is a matter of public interest and Plaintiff
   8   voluntarily inserted himself into the controversy concerning NXIVM.
   9         Similarly, as the Court can take judicial notice of the existence of “articles
  10   written by and about the plaintiff,” it can take judicial notice of Plaintiff’s nationally
  11   broadcast press conferences and media appearances. See Biro v. Conde Nast, 963 F.
  12   Supp. 2d 255, 271 n.9 (S.D.N.Y. 2013). The fact of this widespread media coverage,
  13   the public interest in NXIVM, and Plaintiff’s ongoing presence in this public
  14   discussion are generally known within the trial court’s territorial jurisdiction and can
  15   be accurately and readily determined from sources whose accuracy cannot reasonably
  16   be questioned. Fed. R. Evid. 201(b)(1), (2); see also Hawaii v. Trump, 859 F.3d 741,
  17   773 n.14 (9th Cir.), vacated and remanded on other grounds, 138 S. Ct. 377 (2017)
  18   (taking judicial notice of the President’s tweets); Nat'l Rifle Ass'n of Am. v. City of
  19   Los Angeles, 441 F. Supp. 3d 915, 934 (C.D. Cal. 2019) (taking judicial notice of a
  20   party’s statements made on his Twitter account); Watson v. NY Doe 1, 439 F. Supp.
  21   3d 152, 159 n.4 (S.D.N.Y. 2020) (taking judicial notice of a defamation plaintiff’s
  22   open letter and related news coverage); Elliott v. Donegan, 469 F. Supp. 3d 40, 47 n.2
  23   (E.D.N.Y. 2020) (taking judicial notice of the plaintiff’s writings on related issues “in
  24   furtherance of [defendant’s] argument that Plaintiff qualifies as a limited-purpose
  25   public figure.”) Defendants seek judicial notice of the existence of this media
  26   coverage and the fact of Plaintiff’s media appearances, not of the truth of the matter
  27   asserted in Exhibits 3, 4, or 5. See id.
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   1         D. State Agency Records
   2         Finally, the Court may take judicial notice of official New York State
   3   Department of Health records as a source whose accuracy cannot reasonably be
   4   questioned. Fed. R. Evid. 201(b); W. Radio Servs. Co. v. Qwest Corp., 530 F.3d
   5   1186, 1192 n.4 (9th Cir. 2008) (taking judicial notice of a state agency order); DeSoto
   6   Cab Co., Inc. v. Uber Techs., Inc., No. 16-CV-06385-JSW, 2020 WL 10575294, at
   7   *2 (N.D. Cal. Mar. 25, 2020) (taking judicial notice of orders from administrative
   8   agencies and documents found on government agency websites). Judicial notice of
   9   state agency decisions is appropriate where “the existence of the opinion is not in
  10   dispute, nor are its contents.” Lyon v. Gila River Indian Cmty., 626 F.3d 1059, 1075
  11   (9th Cir. 2010) (holding the district court erred in denying judicial notice of a
  12   government agency action). The New York state entity with the power to conduct
  13   professional misconduct and disciplinary proceedings for New York physicians is the
  14   Office of Professional Medical Conduct, part of the New York Department of Health.
  15   See Mir v. Kirchmeyer, No. 20-1659, 2021 WL 4484916, at *3 n.4 (2d Cir. Oct. 1,
  16   2021) (citing N.Y. Pub. Health Law § 230 and taking judicial notice of New York
  17   state agency websites detailing oversight authorities for professional misconduct); see
  18   also Harris v. New York State Dep't of Health, 202 F. Supp. 2d 143, 147 n.1, 173
  19   n.13 (S.D.N.Y. 2002) (taking judicial notice of the 1999 Determination and Order
  20   issued by the New York State Board for Professional Medical Conduct and
  21   subsequent proceedings suspending and then revoking plaintiff’s medical license).
  22         Exhibit 6 is a copy of the New York State Department of Health’s Office of
  23   Professional Misconduct and Physician Discipline search result for Brandon B.
  24   Porter, showing that his medical license was revoked. While the Plaintiff appears
  25   onscreen in Episode Four of the Series, text appears noting that Brandon Porter’s
  26   medical license was revoked. See Ex. 1, Ep. 4, at 1:18:21. Plaintiff alleges that
  27   commentary about “Dr.” Porter’s work with NXIVM in the Series was defamatory.
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   1   FAC ¶¶ 51–54. The Court may take judicial notice that Brandon Porter is no longer a
   2   licensed medical doctor and had his medical license revoked for “professional
   3   misconduct . . . in a manner which evidences moral unfitness.” Ex. 6. Exhibit 6 is
   4   judicially noticeable.
   5   III.   CONCLUSION
   6          Defendants respectfully request that the Court take judicial notice of (1) the
   7   lodged video files of the four-part documentary series at issue in this dispute,
   8   Seduced: Inside the NXIVM Cult (Ex. 1); (2) official court records from federal
   9   criminal proceedings before the United States District Court for the Eastern District
  10   of New York, U.S. v. Raniere, No. 1:18-cr-00204-NGG-VMS (Ex. 2); (3) the fact
  11   that there has been significant news media coverage of NXIVM and Keith Raniere;
  12   and (Exs. 3–5) (4) the official New York State Department of Health’s Office of
  13   Professional Misconduct and Physician Discipline record for Brandon Porter (Ex. 6).
  14
  15   DATED:       February 9, 2022           Respectfully submitted,
  16                                           JASSY VICK CAROLAN LLP
  17
  18                                           _____/s/Meghan Fenzel________________
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                                               ENTERTAINMENT INC. and STARZ
  21                                           ENTERTAINMENT, LLC
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                                                                    SPECIAL MOTION TO STRIKE
